Case 1:19-cv-23131-RNS Document 187 Entered on FLSD Docket 03/11/2022 Page 1 of 23



                         IN THE UNITED STATES DISTRICT COURT
                        FOR TH E SOUTHERN DISTRICT OF FLORIDA
                                    M IAM IDIW SION
                          C A SE N O .1:19-CV -23131-SCO LA JL O U IS

 EQUAL EM PLOYM ENT
 O PPO R TUN ITY CO M M ISSION ,
        Plaintif:
 and

 LOUISE DAVIDSON-SCHM ICH ,
      IntervenorPlaintiff,                       PLM NTIFFO TERVEN OR
                                                 PLM N TIFF'S EX H IBIT LIST
 VS.

 UN W ER SITY O F M IAM I
       D efendant.
                                                                          g %yjt.
                                                                                uvg..-
 PRESIDING JUDGE:      PLAW TIFF'S COUN SEL:              DEFENDANTS'COUNSEL:
 Hon.RobertN Scola,Jr. BeatrizB.Andre,Esq.                ChristopherM . Yannuzzi,Esq.
                       Carm en M .Cartaya,Esq.            Eric D . Isicoff,Esq.
                       Ana C.M artinez,Esq.               Teresa Ragatz, Esq.

                           INTERVENOR PLA INTIFF
                           COUN SEL :
                           K aren C .A m lon ,Es .
 TRIAL DATES:              COURT REPORTER:               COURTROOM DEPUTY:
 Tw o-w eek trialterm
 starting D ec.6,2021


        No. Obiections       Date         M arked Adm itted D cri tion OfExhibits
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       P-1                                                       U niversity ofM iam iFaculty
                                    (U               x           Ma nual2016-2017
                                                                 BachasD ep.Ex.1   -
                                                                                      170836-
                                                                 1007
       P-2                                                       U niversity ofM iam i
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                                                                 Bachas D ep.EX.3 D 115312-
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                                                                 115318
       P-3                                                       Em ailto Jeffrey Duerk from
                                                                 LeonidasBachasDated
                                                                 12/15/2017 Re:CUPA
                                                                 BachasD ep.Ex.7 1786267-
                                                                                   -

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    Case 1:19-cv-23131-RNS Document 187 Entered on FLSD Docket 03/11/2022 Page 2 of 23



            No. O biections   Date      M arked Admitted Description OfExhibits
                              Offered
ç          P-4                                             Em ailto H ectorSilva from
                                                           LeonidasBachas D ated
                                                           10/29/2015 Re:W GS Lecturer
                                                           Bachas D ep.Ex.8 1756790-
                                                                             -

                                                           56791
           P-5                                             Em ailto M iranda Gonzalez
                                                           from Rose K etlie Glem aud
                                                           Dated 03/07/2016Re:Final
                                                           V ersion ofthe Reportforthe
                                                           A cadem ic A ffairs Com m ittee
                                                           and ProvostB achas D ep.Ex.9
                                                             D 63599-63627
           P-6                                             Em ailto D anielPals from
                                                           LeonidasBachas dated
                                                           2/3/2014 Re:Fw d:H istorical
                                                           M eritPoolD ata
                                                           Bachas D e .Ex.12 1723342
           P-7                                             Em ailfrom Jonathan W estto
                                                           Susan RatcliffD ated
                                                           03/06/2012 Re:Justitk ations
                                                           forPOL faculty m arket
                                                           recom m endations
                                                           Bachas Dep.Ex.14
                                                           17127624-127625
           P-8                                             Em ailto Leonidas Bachas
                                                           from Louise D avidson-
                                                           Schm ich D ated 05/23/2017 Re:
                                                           M eeting tom orrow
                                                           Bachas Dep.Ex.16 D81793-
                                                                                 -

                                                           81799
           P-9                                             Emailto LeonidasBachas
                                                           from Lizette Com ideDated
                                                           03/01/2018 Re:Faculty Salary
                                                           A nalysis
                                                           BachasD ep.Ex.17 1787742-
                                                           87761
         P-10                                              Emailto LeonidasBachas
                                                           from N adieska Gonzalez
                                                           M iranda D ated 08/03/2018 Re:
                                                           Em ailing:W om en C Raw D ata
                                                           BachasD ep.Ex.19 1793750-
                                                           93755
         P-11                                              Emailto LeonidasBachas
                                                           from M ary Sapp D ated
c                                                          05/13/2011 Re:2011 Faculty
                                                           Survey Open-Ended
                                                           Responses
                                                           B achasD ep.Ex.20 1713511-
                                                           13534
    Case 1:19-cv-23131-RNS Document 187 Entered on FLSD Docket 03/11/2022 Page 3 of 23



            No. O biections   Date              M arked Adm itted Description OfExhibits
                              O ffered
ç,>y     P-12                                                      Em ailto Rose K etlie Glem aud
                                                                   from Deserae delCam po
                                                                   Dated 06/08/2017Re:
                                                                   Strategic Plan FinalReport
                                                                   Bachas D ep.Ex.22 1782349-
                                                                   82364
         P-13                                                      Em ailto A ngelK aiferfrom
                                                                   LeonidasBachas D ated
                                                                   07/17/2017 Re:FY 2018
                                                                   BudgetM em o - College of
                                                                   A& S
                                                                   Bachas Dep.Ex.23 1783008-
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         P-14                                                      Letterto M s.Louise D avidson
                                                                     Schm ich from PaulSugrue

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                                                                   ProfessorofPoliticalScience
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                                                                   W estDep.Ex.2 172855-
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                                                                   3289
         P-15                                                      V ITA ofG eorge G onzalez
                                                                   W estDep.Ex.3 D 1941-
                                                                   2320
         P-16                                                      Recruitm entA ctivity
                                )
                               ,.                                  SummaryWestDep.Ex.4-
                                                                   D 128015-128030
         P-17                                                      Salary W orksheetFiscalY ear
                                .   $                              2019WestDep.Ex.14-D-
                                                                   127363-127370
         P-18                                                      Salary W orksheetsD 127351
                                                                   2019,2020 W estEx.15
         P-19                           .                          Em ailto CA S Chairs from
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                                                                   M eeting on April26 W est
                                                                   D e .Ex.16 1380544-80562
         p-20                                                      Em ailfrom Jonathan w estto
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                                                                   1.17500037-00038
         P-21                                                      Em ailfrom Louise D avidson-
                                                                   Schm ich to Bonnie M uschett
c                                                                  R e:EDITED V ERSION dated
                                                                   l1/l8/2017 Birflbach D ep.Ex.
                                                                   1 D 5655-5679
    Case 1:19-cv-23131-RNS Document 187 Entered on FLSD Docket 03/11/2022 Page 4 of 23



             No. Obiections   Datt          M arked Adm itted Description O fExhibits
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ç:       P-22                                                  Em ailfrom BonnieM uschett
                                                               to David Birnbach Re:
                                 '
                                     ?'')                      RequestingFollow updated
                                        (                      2/8/2018Birnbach Dep.Ex.4
                                                                  175691-5693
         P-23                                                  Em ailfrom BonnieM uschett
                                                               to DavidBirnbach Re:FW D:
                                                               Requestforresponsetom y
                                                        '
                                                               previousinquiriesD ated
                                                               05/17/2018 Bim bach Dep.Ex.
                                                               5 175694-5695
         P-24                                                  Employee Salary Comparison
                                                               FY 17 to FY 11 Birnbach D ep.
                                                               Ex.6 17127413
         P-25                                                  Salary Infonnation for
                                                               Davidson-schmich Birnbach
                                                               D e .Ex.7 135623-5624
         P-26                                                  Em ailfrom Exchange
                                                               A dm inistrative Group to M ark
                                                               Diaz R e:Increase for
                                                               Prom otionsDated4/22/2014
                                                               B irnbach D ep.Ex.14
                                                               1725121
         P-27                                                  Em ailfrom LeonidasBachas
                                                               to D avid Birnbach re:Faculty
                                                               Com m ents dated 08/21/2017
                                                               Birnbach D ep.Ex.15
                                                               1383670-83672
         13-28                                                 CatherineJudd Salary
                                                               Com laint 135804-5806
         P-29                                                  The Faculty M anualof
                                                               University ofM iam iDated
                                                               1994 Sugrue D ep.Ex.1
                                                               17125716-125823
         P-30                                                  M em orandum forN ew H ire
                                                               Form sdated 6/14/99 Sugnle
                                                               D e .Ex.3 171936-2320
         P-31                                                  Em ailfrom Jackie D ixon to
                                                               Fred Frohock Re:an offer
                                                               D ated 07/07/2009 SugrueD ep.
                                                               Ex.6 1795705-95706
         P-32                                                  A ppointm entLetterto Dr.
                                %Q                             GregoryKogeraboutAssistant
                                                               ProfessorPosition Sugnle D ep.
c                                                              Ex.7 172360-2421
    Case 1:19-cv-23131-RNS Document 187 Entered on FLSD Docket 03/11/2022 Page 5 of 23



            No. O biections   Date        M arked Admitted Description OfExhibits
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 )       P-33                                               A ppointm entLetterto M r.
                                                            Joseph Uscinskiabout
                                                            A ssistantProfessorPosition
                                                            Sugrue D ep.Ex.8 17127268-
                                                                              -

                                                            127285
         P-34                                               G regory K ogerV ITA K oger
                                                            De .Ex.2 17128058-128063
         P-35                                               Louise K .Davidson-schm ich
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         P-36                                               M em orandum to Jonathan
                                                            W estfrom W ilhem enaB lack
                                                            Re:N otification ofPosition
                                                            A ction LD S Dep.Ex.2
                                                            173288-3289
         :-37                                               Duke U niversity Letterto
                                                            Louise D avidson-schm ich R e:
                                                            o fferofEm ploym entRe:
                                                            2/14/2000 LDS Dep.Ex.3    -

                                                            172857-2856
         P-38                                               w elcom eLetterfrom

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                                                            Ex.4 D 3875-3877
         P-39                                               RegularTenure Track
                                                            Appointm entProbationary to
                                                            D avidson-schm ich D ated Oct
                                                             19 2000 LD S Dep.Ex.5
                                                            133874
         P-40                                               RegularTenure Track
                                                            Appointm entProbationary to
                                                            Davidson-schmich DatedM ay
                                                             14 2001 LD S Dep.Ex.6
                                                            173873
         P-41                                               RegularTenure Track
                                                            Appointm entProbationary to
                                                            D avidson-schm ich D ated M ay
                                                            20 2002 LD S Dep.Ex.7
                                                            173872
         P-42                                               U M Letter to D ean Sugrue

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                                                            Louise Davidson-schm ich
                                                             D S De .Ex.8 173869-3871
c        P-43                     '                         Letter to Louise Davidson-
                                      %                     SchmichfromPaulSugrue
                                                            regarding yourletterofJan 2
                                                            2003 dated Jan 14 2003 LD S
                                                            D e .Ex.9 173853
             Case 1:19-cv-23131-RNS Document 187 Entered on FLSD Docket 03/11/2022 Page 6 of 23



                     No. Obiections    Date       M arked Adm itted D escription OfExhibits
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                  P-44                                               RegularTenure Track
                                                                     AppointmentProbationary
                                                                     Letterto Louise D avidson-
                                                                     Schm ich Dated Jun 1,2003
                                                                     LD S D e .Ex.10 173852
                  P-45                                               R egular Tenure Track
                                                                     AppointmentProbationary
                                                                     Letterto Louise D avidson-
                                                                     Schm ich Dated Jun 1,2004
                                                                     LDS De .Ex.11 173849
                  P-46                                               R egular Tenure Track
                                                                     A ppointm entProbationary
                                                                     Letterto Louise D avidson-
                                                                     Schm ich D ated Jun 1,2005
                                                                     LDS De .Ex.12 172869
                  P-47                                               Letterto D r. W estfrom Louise
                                                                     Davidson-schm ich regarding
                                                                     one-yearextension ofm y
                                                                     probationary period D ated Jun
                                                                     16,2005LDS Dep.Ex.13     -

                                                                     172945
                  P-48                                               Letter to Professor Davidson-
ç                                                                    Schm ich from BillTallm an
                                                                     regarding A pprovalforrequest
                                                                     foran extension LD S D ep.Ex.
                                                                     14 D 2943
                  P-49                                               M em orandum dated D ec 10,
                                                                     2005 Regarding Chairm an's
                                                                     Recom m endation for Louise
                                                                     Davidson-schmich LD SDep.
                                                                     Ex.15 D 3109
                  P-50                                               Letterto ProfessorD avidson-
                                                                     Schm ich from PaulSugrue
                                                                     dated M ay 30,2006 regarding
                                                                     Salary LD S D ep.Ex.16
                                                                      173848
                  P-51                                               Letterfrom Louise D avidson-
                                                                     Schm ich to D ean Sugrue
                                                                     R egarding M aternity Leave
                                                                     and W orkload Reduction
                                                                     D ated A ug 4,2006 LD S D ep.
                                                                     Ex.17 D 3840-3841
                  P-52                                               CareerA ssessm entfir Louise
                                                                     D avidson-schm ich LD S D ep.
L                                                                    Ex.18 173061 -3070
    Case 1:19-cv-23131-RNS Document 187 Entered on FLSD Docket 03/11/2022 Page 7 of 23



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C'       P-53                                              Letterfrom Thom as LeBlanc

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                                                           to A ssociate Professor LD S
                                                                                       on
                                                           D e .Ex.19 172854
         P-54                                              LetterofAward ofTenureand
                                                           Prom otion to ProfessorLouise
                               Jj,1                        Davidson-schmichfromPaul
                                                           Sugrue LD S D ep.Ex.20
                                                           132865
         P-55                                              Em ailfrom W illiam Tallm an
                                                           to LouiseDavidson Re:
                                                           SabbaticalEligibility Dated
                                                           Sep 20,2007 LD S Dep.Ex.21
                                                              D2853
         P-56                                              RequestforSecondary
                                                           Appointm entD ated D ec 12
                                                           2007 LD S D ep.Ex.22
                                                             172933
         17-57                                             Letterto ProfessorD avidson-
                                                           Schm ich from David Birnbach
                                                           regarding secondary
ç                                                          appointm entLD S D ep.Ex.23
                                                            D 3829
         P-58                                              M em orandum to Louise
                                                           D avidson-schm ich from
                                                           M ichaelH alleran R e:
                                                           SabbaticalLeave RequestLD S
                                                           D e .Ex.24 173962
         13-59                                             Letterto Louise D avidson-
                                                           Schm ich regarding Academ ic
                                                           fiscalyearsalary for2008
                                                           2009 LD S D ep.Ex.25
                                                            1.17500286
         P-60                                              Sum m ary ofA ctivities for
                                                           2008 CalendarYearTenured
                                                           and Tenure-Track Faculty
                                                           D ated Jan 15,2009 LD S D ep.
                                                           Ex.26 174024-4029
         P-6l                                              Salary Freeze Letter from
                                                           U niversity ofM iam ito Louise-
                                                           D avidson-schm ich D ated Ju1
                                                           20,2009 LD S D ep.Ex.27
                                                            LD S00290
ç        P-62                                              Sum m ary ofActivities for
                                                           2009 Calendar Y earTenured
                                                           and Tenure-Track Faculty
                                                           D ated Jan 2010 LD S D ep.Ex.
                                                           28 174017-4022
     Case 1:19-cv-23131-RNS Document 187 Entered on FLSD Docket 03/11/2022 Page 8 of 23



              No. O biections   Date       M arked Admitted Description OfExhibits
                                O ffered
ç         P-63                                               Letterto LouiseDavidson-
                                                             Schm ich from Fred Frohock
                                                             regarding salary for2010-11
                                                             academ ic yearLD S D ep.Ex.
                                                             30 1-13500292
          P-64                                               Sum m ary ofActivitiesfor
                                                             2010 CalendarY earTenured
                                                             and Tenure - Track Faculty
                                                             D ated Jan 24 2011 LD S D ep.
                                                             Ex.31 174008-4014
          P-65                                               Em ailfrom Fred Frohock to
                                                             Louise D avidson-schm ich
                                                             Regarding Salary D ated M ay
                                                             17,20l1 LD S D ep.Ex.32
                                                              LD S00294,173827
          P-66                                               Sum mary ofActivitiesfor
                                                             2011 CalendarY ear Tenured
                                                             and Tenure-Track Faculty
                                                             D ated Jan 4,2012 LD S D ep.
                                                             Ex.34 D 3989-4006
          P-67                                               Em ailfrom Jonathan W estto
                                                             Louise D avidson-schm ich Re:
ç                                                            Faculty Salary for 2012-2013
                                                             datcd M ay 14,2012 LD S D ep.
                                                             Ex.35 LD S00296,
                                                             LDS00i98
          P-68                                               Sum mary ofActivitiesfor
                                                             2012 CalendarY earTenured
                                                             and Tenure-Track Faculty
                                                             D ated Jan 7,2013 LD S D ep.
                                                             Ex.37 D 3540-3557
          13-69                                              Em ailfrom Jonathan W estto
                                                             Louise D avidson-schm ich Re:
                                                             Faulty Salary for2013-2014
                                                             D ated M ay 15,2013 LD S D ep.
                                                             Ex.38 LD S00300-00303
          P-70                                               Sum m ary ofA ctivities for
                                                             2013 CalendarY earTenured
                                                             and Tenure-Track Faculty
                                                             D ated Jan 2014 LD S D ep.Ex.
                                                             39 173560-3574
          P-7l                                               Letterto Louise D avidson-
                                                             Schm ich from Jonathan W est
                                                             aboutFiscalY ear Salary for
ys                                                           2014-2015 LD S D ep.Ex.40
                                                              L17500304-00306
    Case 1:19-cv-23131-RNS Document 187 Entered on FLSD Docket 03/11/2022 Page 9 of 23



            N o. Obiections   Date       M arked Adm itted Description OfExhibits
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ç        P-72                                               Letterto Louise D avidson-
                                                            Schm ich from Leonidas
                                                            Bachasregarding A ppointm ent
                                                            as DirectorofW om en'sand
                                                            G enderStudiesProgram LD S
                                                            D c .Ex.41 173707
         P-73                                               LettertoLouiseDavidson-
                                                            Schm ich from Jonathan W est
                                                            regarding FiscalY ear Salary
                                                            for2015-2016 LD S D ep.Ex.
                                                            42 LD S00308-00310
         P-74                                               Sum m aly ofA ctivities for
                                                            2014 CalendarY earTenured
                                                            and Tenure-Track Faculty
                                                            dated Jan 13,2015 LD S D ep.
                                                            Ex.43 D 3577-3593
         13-75                                              Letterto Louise D avidson-
                                                            Schm ich from BillTallm an
                                                            regarding SabbaticalLeave
                                                            A pprovalLD S D ep.Ex.44
                                                             173679
         P-76                                               Sum m ary ofA ctivities for
C                                                           2015 Calendar YearTenured
                                                            and Tenure-Track Faculty
                                                            D ated Jan 2016 LD S D ep.Ex.
                                                            46 D 3596
         P-77                                               Louise D avidson-schm ich
                                                            CareerA ssessm entA pril2016
                                                            LD S Dep.Ex.47 D2975-
                                                                             -

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         13-78                                              A rticlesand B ooksCited
                                                            G reaterthan l0 tim es,Total
                                                            Citations:255 CitesLD S D ep.
                                                            Ex.48 173751
         P-79                                               Em ailto Louise D avidson-
                                                            Schm ich from Jonathan W est
                                                            Regarding FY 17 M erit
                                                            Increase LD S D ep.Ex.49
                                                             1.17500312-00315
         P-80                                               Sum m ary ofActivitiesfor
                                                            2016 CalendarY earTenured
                                                            and Tenure-Track Faculty
                                                            D ated Jan 112017 LD S D ep.
                                                            Ex.50 D 3615-3632
c        P-81                                               Letterto Dr.
                                            j --            S chmichfromLoDua
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                                                            regarding Prom otion LDS
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                                                            D e .Ex.51 172848
    Case 1:19-cv-23131-RNS Document 187 Entered on FLSD Docket 03/11/2022 Page 10 of 23



             No. Obiections   Date       M arked Adm itted D escription OfExhibits
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çy:.     P-82                                               Letterto Louise D avidson-
                                                            Schm ich from Jonathan W est
                                                            Regarding FY 18 M erit
                                                            Increase LD S D ep.Ex.52
                                                             1-17500316-321
         13-83                                              Sum m ary ofA ctivitiesfor
                                                            CalendarYear2017 LDS Dep.
                                                            Ex.53 D3635-3652
         P-84                                               Letterto Louise D avidson-
                                                            Schm ich from Jonathan W est
                                                            regarding FY 19 M eritlncrease
                                                            LD S D ep.Ex.54 LD S00322-
                                                            325
         13-85                                              Sum m ary ofA ctivities
                                                            Calendar Year2018 LD S D ep.
                                                            Ex.55 D3655-3678
         P-86                                               Em ailfrom Jonathan W estto
                                                            Louise D avidson-schm ich
                                                            D ated Jun 11,2019 regarding
                                                            FY 2020 A nnualBase Salary
                                                            LetterLD S Dep.Ex.56
                                                             1-,17500326-328
C        P-87                                               Em ailfrom LouiseDavidson-
                                                            Schm ich to Gregory Koger
                                                            D ated A pril20,2010 regarding
                                                            Reportfrom yesterday's
                                                            College CouncilM eeting LD S
                                                            D e .Ex.57 D 86
         P-88                                               Em ailfrom A m anda Jensen-
                                                            DosstoLeonidasbachasand
                                                            M aria Stam pino D ated M ar 30,
                                                            2017regarding Ad Hoc
                                                            Com m ittee on W om en Faculty
                                                            LD S D ep.Ex.59 1778275-
                                                                             -

                                                            78289
         P-89                                               Em ailfrom Louise Davidson-
                                                            Schm ich to LouiseDavidson-
                                                            Schm ich D ated M ay 16,2017
                                                            Regarding N ote to Jonathan
                                                            LD S D ep.Ex.60 D 8l190-
                                                            81191
         P-90                                               Em ailfrom LeonidasBachas
                                                            to M erike Blofield,Louise
                                                            D avidson-schm ich and Laura
c                                                           Gomez-M eraRegarding
                                                            Perfonmance Review D ated
                                                            M ay 30,2017 LD S Dep.Ex.
                                                            63 LD S00006-00007
         Case 1:19-cv-23131-RNS Document 187 Entered on FLSD Docket 03/11/2022 Page 11 of 23



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çy            P-91                                                 Em ailfrom Louise D avidson-
                                                                   Schm ich to Bonnie M uschett
                                                                   Dated Aug 24,2017 regarding
                                                                   R equestforM eeting LDS Dep.
                                                                   Ex.65 L13500043-00042
              P-92                                                 Em ailto Bonnie M uschettand
                                                                   Louise D avidson-schm ich
                                                                   D ated N ov 18,2017 regarding
                                                                   Edited V ersion Follow up to
                                                                   M eeting on W ednesday
                                                                   A ugust30thLD S D ep. Ex.66
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              P-93                                                 Em ailfrom Jonathan W estto
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              13-94                                                Em ailto KristopherG leason
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              P-95                                                 Tim etable LDS Dep. Ex.70
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              P-96                                                 Chartof Salary by Y earand
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              13-97                                                Em ailfrom Louise D avidson-

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         P-101                                                U niversity ofM iam iPosition
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         P-102                                                EEO C Letter ofDetennination
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         P-103                                                ComplaintM eredith Dep.Ex.
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         P-106                                                U niversity ofM iam iFaculty
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         P-107                                                D ocum entsre:G eorge
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                                                            2019
         P-116                                              U M Response to Plaintiff,
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         P-117                                              U M Response to PlaintiffFirst
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                                                            D ocum ents,dated D ec.16,
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         P-121                                              ExpertReportD ocum ent# 16
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         P-129                                              EEOC Com laint D E # 1
         P-130                                              U M A nsw er DE # 28
         P-131                                              Bachas D ecl. dated June 1,
                                                            2021,D E # 116-1
         13-132                                             2014 Evaluation
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ç        P-172                                               Evaluation K OG ER
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         13-197                                             Justitk ations 2016 9 64247-
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         P-198                                              Justitications 2018 for
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           P-285                                              FinancialStatementsFY
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                                                              2016 171782-1812
           P-286                                              FinancialStatementsFY
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           P-287                                              FinancialStatem entsFY
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           P-288                                              FinancialStatem entsFY
                                                               019 D 1881-1917
           P-289                                              CV B lofield EEOC0003006-
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           P-290                                              CV C onnolly EEO C0003019-
                                                              0003022
           P-291                                              CV Humm el EEOC0003023-
                                                              0003031
           P-292                                              CV K lofstad EEOC0003032-
                                                              0003042
           13-293                                             CV K oger EEO C0003043-
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           P-294                                              CV
                                                              M ilakovich EEO C0003048-
                                                              0003066
           P-295                                              CV O livella EEO C0003067-
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           P-296                                              CV Parent EEO C0003069-
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           P-297                                              CV
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              P-298                                               CV Taratoot EEOC0003088-
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              P-299                                               CV Uscinski EEOC0003095-
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              P-300                                               CV W est EEO C0003101-
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              P-301                                               University ofM iam iFaculty
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              P-302                                               LD S CV 2022
              P-303                                J              Econom ic Dam a es:Table 1
              17-304                    ,                         Econom icDam a es:Table2
              P-305                                               Erin G eor e CV
              13-306                                              Letterto GeorgeGonzalez,
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              P-307                                       A       GorlzalezSabbatical2021

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